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                           UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS
                                     WESTERN DIVISION

 CHRISTOPHER CARROLL, as Special                   )
 Administrator of the Estate of                    )
 PAUL CARROLL, deceased,                           )
                                                   )
            Plaintiff,                             )
                                                   )       Case No. 3:19-cv-50140
 vs.                                               )
                                                   )
 JOSE A. BARCENAS, individually, and               )
 BAY VALLEY FOODS, LLC,                            )
                                                   )
            Defendants.                            )

                                    JURISDICTIONAL ADDENDUM

            NOW COMES the Plaintiff, CHRISTOPHER CARROLL, as Special Administrator of

 the Estate of PAUL CARROLL, deceased, by and through his attorneys, BARRICK, SWITZER,

 LONG, BALSLEY & VAN EVERA, and for his JURISDICTIONAL ADDENDUM, states as

 follows:

                                                   Parties

        1.          Christopher Carroll is an individual that is a citizen of the State of Pennsylvania.

        2.          Paul Carroll (“Carroll”) was a citizen of the State of Maryland prior to his death.

        3.          Jose A. Barcenas (“Barcenas”) is an individual that is citizen of the State of

Arkansas.

        4.          Bay Valley Foods, LLC (“Bay Valley Foods”) is a limited liability corporation that

is incorporated in the State of Illinois, and its principal place of business is located in the State of

Illinois.




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                                                   CHRISTOPHER CARROLL, as Special
                                                   Administrator of the Estate of PAUL
                                                   CARROLL, deceased, PLAINTIFF


                                                   By: /s/ Mohit Khare
                                                           Mohit Khare


Mohit Khare
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